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                           UNITED STATES DISTRICT COURT
                                                                           FILED
                         FOR THE DISTRICT OF CONNECTICUT
                                                                        2019 JUL -2 P :t- 20
                                                                        U.S. DISTRICT COURT
                                                                    _    E UJJV~. CT.
      OLIVER COLLINS                           CASE NO.   J ~ I '1 Gv Joy.<1] (Aye)

      V

     ZOAR OUTDOOR ADVENTURE RESORT INC.                    JURY TRIAL REQUESTED




     BASIS FOR JURISDICTION

              28 USC SECTION 1332, DIVERSITY OF STATE CITIZENSHIP AND

          CLAIM FOR MORE THAN $75,000.00 IN DAMAGES




                        COMPLAINT FOR A CIVIL CAUSE

COUNT ONE- GROSS NEGLIGENCE

 1. The Plaintiff, Oliver Collins (Collins), is a resident of the State of Connecticut
    residing at 395 Central Avenue, New Haven, Connecticut.


 2. The Defendant, Zoar Outdoor Adventure Resort Incorporated (Zoar), at all
    times relevant is a Massachusetts Corporation located at Mohawk Trail,
    Route 2 Charlemont, Massachusetts 01339.


 3. The Defendant, Zoar is in the business of providing rafting tours, amongst
    other activities for a fee.
 4. On or about July 1, 2017, the Plaintiff and Defendants entered into an online
    contract (see schedule A attached) for a white water rafting trip to be held
    on July 3, 2017.

 5. Collins paid the required fee on line.
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6. Upon arrival at the beginning of the rafting trip, Collins entered a boat/raft,
   owned and operated by Zoar.

7. At some point during the trip, the guide stopped and picked up a large
   cylindrical item and/or two duffle bag looking objects, presumably with the
   trip's participants lunch inside.

8. The boat/raft at this point, due to the cylindrical objects loaded onto the
   boat/raft, was now over crowded thereby preventing the occupants from
   adjusting inside the boat/raft in the case of jostling by any rocks, white water
   and or, any object that the boat/raft might encounter.



9. Zoar's guide then adjusted the boat/raft in a direction toward a rapid flowing
   water and or, a slight waterfall.

10. Due to the restriction in the boat/raft, caused by the occupants and the
   cylindrical containers, Collins, upon impact of the rapid flowing water and or
   waterfall, was expelled from the boat/raft in a violent manner striking his
   back on a rock.



11.The expulsion and violent striking of Collins' back did cause a bone in his back
   to break.

12. Someone employed by Zoar reached out and 'pulled' Collins back into the
   boat, further injuring Collins and caused Collins to suffer even more extreme
   pain.



13.The boat/raft pulled over to the shore. Collins was then forced to walk up an
   extremely steep hill in immense pain. He was forced to wait for a van, owned
   and operated by Zoar, with no medical professional on board to pick Collins
   up.

14.Later he was transported via ambulance to the hospital.
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15.Collins was treated and released from the hospital that day, and forced to
   stay in a hotel as he was in too much pain to travel home.

16. Zoar did pay for the hospital bill and the hotel bill.



17.As a result of Zoar's gross negligence, the Plaintiff was caused to suffer:



        a. A fracture of transverse process of his lumbar spine,
        b. Injuries to wit:
                       1.   Other damage to his back and neck,
                       2.   whiplash,
                       3.   Cervical, and Lumbar Sprain and strain,
                       4.   Bruised ribs
                       5.   Other debilitating ailments.


18. As a result of Zoar's gross negligence, it caused further expenses to Collins
   to wit:
                  a. Many visits to the Doctors,
                  b. Past and future medical expenses,
                  c. Lost wages,
                  d.   Permanent physical impairment.

             COUNT TWO- NEGLIGENCE

19. Paragraphs 1-18 are hereby restated and incorporated herein.



20. As the actions of Zoar as described above, constitute negligence.
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WHEREFORE, Plaintiff requests this Honorable Court to:

                        1. Order consequential damages,
                        2. punitive damages,
                        3. compensatory damages,
                        4. costs for prosecution of this action,
                        5. and such other and further relief as may be just,
                           proper and lawful.




                         Anthony A.

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